4:09-cr-03111-RGK-CRZ            Doc # 61   Filed: 03/29/10      Page 1 of 1 - Page ID # 136




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )                    4:09CR3111
                                             )
             v.                              )
                                             )
HECTOR N. CERVANTES RIVERA,                  )                      ORDER
                                             )
                    Defendants.              )
                                             )




      At the court’s request and with the parties’ consent, the defendant’s change of plea
hearing is rescheduled from 2:30 P.M. to 11:30 A.M. on April 2, 2010.


      DATED this 29 th day of March, 2010.


                                            BY THE COURT:


                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
